       Case: 4:14-cr-00152-RWS    Doc. #: 791 Filed: 04/11/17    Page: 1 of 1 PageID #:
                                            3281
                     COURTROOM MINUTE SHEET
       SENTENCING/SUPERVISED RELEASE REVOCATION PROCEEDINGS
                    HONORABLE RODNEY W. SIPPEL
                       COURTROOM 16 SOUTH

Date 4/11/17                      Case No. 4:14CR152 RWS
UNITED STATES OF AMERICA vs. Robert Jaynes, Jr.
Deputy Clerk      Andrea Luisetti      Court Reporter Shannon White
Interpreter
Probation Officer Present
Assistant U.S. Attorney James Delworth, Eric Granger
Defendant Attorney       Nanci McCarthy, Michelle Monahan

(X) Defendant/Parties present for imposition of sentence
(X) Presentence Report adopted/accepted by Court as findings of fact
(X) Sentence imposed :

Defendant is committed to the custody of the US-BOP for a term of 138months .
This term consists of a term of 138 months on Count I and 60 months on Count II
to run concurrently. Defendant shall be on supervised release for a term of three years.
Defendant is ordered to pay a $200.00 special assessment fee. J&C to follow.

( ) Count         is dismissed on motion of AUSA
( ) Objections to Presentence heard:
( ) Granted ( ) Denied


(x) The Court makes the following recommendations to the Bureau of Prisons:
   Defendant be designated to a facility as close to Indianapolis, Indiana area as possible.

( ) Testimony heard regarding issue of restitution
( ) Defendant released on probation
(X) Defendant remanded to the custody of the USM.
( ) Surrender date no earlier than
( ) Exhibits returned to and retained by counsel

Proceedings Commenced        9:40 a.m.          Concluded       12:50 p.m.
